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         EXHIBIT 8
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                                               U.S. District Court
                                       Northern District of Ohio (Cleveland)
                                  CIVIL DOCKET FOR CASE #: 1:20-cv-00833-SO


 Bridal Expressions LLC v. Owners Insurance Company                                  Date Filed: 04/17/2020
 Assigned to: Judge Solomon Oliver, Jr                                               Jury Demand: Plaintiff
 Demand: $5,000,000                                                                  Nature of Suit: 110 Insurance
 Cause: 12:635 Breach of Insurance Contract                                          Jurisdiction: Diversity
 Plaintiff
 Bridal Expressions LLC                                               represented by Adam J. Levitt
 individually and on behalf of all others                                            DiCello Levitt Gutzler
 similarly situated                                                                  Sixth Floor
                                                                                     Ten North Dearborn Street
                                                                                     Chicago, IL 60602
                                                                                     312-214-7900
                                                                                     Email: alevitt@dicellolevitt.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Amy E. Keller
                                                                                     DiCello Levitt Gutzler
                                                                                     Sixth Floor
                                                                                     Ten North Dearborn Street
                                                                                     Chicago, IL 60602
                                                                                     312-214-7900
                                                                                     Email: akeller@dicellolevitt.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Kenneth P. Abbarno
                                                                                     DiCello Levitt & Gutzler
                                                                                     7556 Mentor Avenue
                                                                                     Mentor, OH 44060
                                                                                     440-953-8888
                                                                                     Fax: 440-953-9138
                                                                                     Email: kabbarno@dicellolevitt.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Mark M. Abramowitz
                                                                                     DiCello Levitt & Gutzler
                                                                                     7556 Mentor Avenue
                                                                                     Mentor, OH 44060
                                                                                     440-953-8888
                                                                                     Fax: 440-953-9138
                                                                                     Email: mabramowitz@dicellolevitt.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Mark A. DiCello

https://ecf.ohnd.uscourts.gov/cgi-bin/DktRpt.pl?100532602949507-L_1_0-1                                                     1/2
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                                                                    DiCello Levitt & Gutzler
                                                                    7556 Mentor Avenue
                                                                    Mentor, OH 44060
                                                                    440-953-8888
                                                                    Fax: 440-953-9138
                                                                    Email: madicello@dicellolevitt.com
                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 Owners Insurance Company


  Date Filed            # Docket Text
  04/17/2020           1 Class Action Complaint with jury demand against Owners Insurance Company. Filing fee
                         paid $ 400, Receipt number AOHNDC-9927156. Filed by Bridal Expressions LLC.
                         (Attachments: # 1 Exhibit A - Insurance Policy, # 2 Civil Cover Sheet) (DiCello, Mark)
                         (Entered: 04/17/2020)
  04/17/2020                Judge Solomon Oliver, Jr assigned to case. (L,MI) (Entered: 04/17/2020)
  04/17/2020                Random Assignment of Magistrate Judge pursuant to Local Rule 3.1. In the event of a
                            referral, case will be assigned to Magistrate Judge William H. Baughman, Jr. (L,MI)
                            (Entered: 04/17/2020)
  04/17/2020           2 Magistrate Consent Form issued. Summons not provided, and were not issued. (L,MI)
                         (Entered: 04/17/2020)



                                                        PACER Service Center
                                                            Transaction Receipt
                                                               04/19/2020 23:51:26
                                   PACER Login: lfsblaw0044           Client Code:   COVID-19 Bus Int Ins
                                   Description:      Docket Report Search Criteria: 1:20-cv-00833-SO
                                   Billable Pages: 2                  Cost:          0.20




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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO


 BRIDAL EXPRESSIONS LLC, individually
 and on behalf of all others similarly situated,

                                Plaintiff,
                                                        Civil Action No. ____________
            v.

 OWNERS INSURANCE COMPANY,                              JURY TRIAL DEMANDED

                                Defendant.



                                    CLASS ACTION COMPLAINT

       Plaintiff Bridal Expressions LLC (d/b/a CLE Bride by Expressions) (“Bridal

Expressions”), individually and on behalf of the other members of the below-defined nationwide

classes (collectively, the “Class”), brings this class action against Defendant Owners Insurance

Company (“Owners”), and in support thereof states the following:

                               I.      NATURE OF THE ACTION

       1.        Plaintiff Bridal Expressions, located in Mentor, Ohio, has been in business for close

to twenty years, providing wedding dresses, tuxedos, and other formalwear to its local community.

Its existence is now threatened because of COVID-19.

       2.        To protect its business in the event that it suddenly had to suspend operations for

reasons outside of its control, Plaintiff purchased insurance coverage from Defendant, including

special property coverage, as set forth in Defendant’s Businessowner’s Special Property Coverage

Form (Form BP 00 02 01 87) (“Special Property Coverage Form”).

       3.        Defendant’s Special Property Coverage Form provides “Business Income”

coverage, which promises to pay for loss due to the necessary suspension of operations.
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       4.       Defendant’s Special Property Coverage Form also provides “Extra Expense”

coverage, which promises to pay the expenses incurred to minimize the suspension of business

and to continue operations.

       5.       Unlike many policies that provide Business Income (also referred to as “business

interruption”) coverage, Defendant’s Special Property Coverage Form does not include, and is not

subject to, any exclusion for losses caused by viruses or communicable diseases.

       6.       In fact, the insurance policy that Defendant sold to Plaintiff (which includes many

different types of coverage in addition to the Special Property Coverage Form) includes a

communicable diseases exclusion that specifically applies only to the liability sections of the

policy—not the property policy section. In other words, Defendant explicitly wrote the

communicable diseases exclusion so that it did not apply to the types of claims at issue in this

lawsuit:




       7.       Plaintiff was forced to suspend business due to COVID-19 (a.k.a. the “coronavirus”

or “SARS-CoV-2”) as well as to take necessary steps to prevent further damage and minimize the

suspension of business and continue operations.

       8.       Upon information and belief, Defendant has, on a widescale and uniform basis,

refused to pay its insureds under its Business Income and Extra Expense coverages for losses

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suffered due to COVID-19 and efforts to prevent further property damage or to minimize the

suspension of business and continue operations. Indeed, Defendant has denied Plaintiff’s claim

under its policy.

                             II.     JURISDICTION AND VENUE

       9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

Defendant and at least one Class member are citizens of different states, and because: (a) the Class

consists of at least 100 members; (b) the amount in controversy exceeds $5,000,000 exclusive of

interest and costs; and (c) no relevant exceptions apply to this claim.

       10.     Venue is proper in this District under 28 U.S.C. § 1391, because Plaintiff resides in

this district, and because a substantial portion of the acts and conduct giving rise to the claims

occurred within the District.

                                      III.    THE PARTIES

Plaintiff

       11.     Plaintiff Bridal Expressions (d/b/a CLE Bride by Expressions) is an Ohio LLC,

with its principal place of business in Mentor, Ohio. Bridal Expressions owns and operates CLE

Bride by Expressions, located in Mentor, Ohio

Defendant

       12.     Defendant Owners Insurance Company is a corporation domiciled in Ohio, with its

principal place of business in Lansing, Michigan. It is authorized to write, sell, and issue insurance

policies providing property and business income coverage in Ohio. At all times material hereto,

Owners conducted and transacted business through the selling and issuing of insurance policies

within Ohio, including, but not limited to, selling and issuing property coverage to Plaintiff Bridal

Expressions.



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                                IV.     FACTUAL BACKGROUND

A.       The Special Property Coverage Form

         13.    In return for the payment of a premium, Defendant issued Policy No. 44-229-409-

01 to Plaintiff for a policy period of October 15, 2019 to October 15, 2020, including a

Businessowners Special Property Coverage Form. Policy No. 44-229-409-01 is attached hereto

as Exhibit A. Plaintiff has performed all of its obligations under Policy No. 44-229-409-01,

including the payment of premiums. The Covered Property, with respect to the Special Property

Coverage Form, is CLE Bride by Expressions, located at 8925 Mentor Avenue, Mentor, Ohio

44060.

         14.    In many parts of the world, property insurance is sold on a specific peril basis. Such

policies cover a risk of loss only if that risk of loss is specifically listed (e.g., hurricane, earthquake

H1N1, etc.). Most property policies sold in the United States, however, including those sold by

Defendant, are all-risk property damage policies. These types of policies cover all risks of loss

except for risks that are expressly and specifically excluded. In the Special Property Coverage

Form provided to Plaintiff, under the heading “Covered Causes of Loss,” Defendant agreed to pay

for direct physical loss or damage to Covered Property unless specifically excluded or limited in

the policy.

         15.    In the Special Property Coverage Form, Defendant did not exclude or limit

coverage for losses from viruses.

         16.    Losses due to COVID-19 are a Covered Cause of Loss under Defendant’s policies

with the Special Property Coverage Form.

         17.    In the Special Property Coverage Form, Defendant agreed to pay for its insureds’

actual loss of Business Income sustained due to the necessary suspension of its operations during

the “period of restoration” caused by direct physical loss or damage.
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       18.     The presence of virus or disease can constitute physical damage to property, as the

insurance industry has recognized since at least 2006. When preparing so-called “virus” exclusions

to be placed in some policies, but not others, the insurance industry drafting arm, ISO, circulated

a statement to state insurance regulators that included the following:

               Disease-causing agents may render a product impure (change its
               quality or substance), or enable the spread of disease by their
               presence on interior building surfaces or the surfaces of personal
               property. When disease-causing viral or bacterial contamination
               occurs, potential claims involve the cost of replacement of property
               (for example, the milk), cost of decontamination (for example,
               interior building surfaces), and business interruption (time element)
               losses. Although building and personal property could arguably
               become contaminated (often temporarily) by such viruses and
               bacteria, the nature of the property itself would have a bearing on
               whether there is actual property damage. An allegation of property
               damage may be a point of disagreement in a particular case.”

       19.     “Business Income” means net income that would have been earned or incurred, and

continuing normal operating expenses incurred, including payroll.

       20.     In the Special Property Coverage Form, Defendant also agreed to pay necessary

Extra Expense that its insureds incur during the “period of restoration” that the insureds would not

have incurred if there had been no direct physical loss or damage to the Covered Property.

       21.     “Extra Expense” means expenses to avoid or minimize the suspension of business

and to repair or replace property.

B.     The Covered Cause of Loss

       22.     The presence of COVID-19 caused “direct physical loss of or damage to” each

“Covered Property” under Plaintiff’s policy, and the policies of the other Class members, by

denying use of and damaging the Covered Property, and causing a necessary suspension of

operations during a period of restoration.




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        23.       As a result of the presence of COVID-19, Plaintiff and the other Class members

lost Business Income and incurred Extra Expense.

        24.       On or about March 16, 2020, Plaintiff submitted a claim to Defendant for loss to its

Covered Property caused by COVID-19.

        25.       On or about March 16, 2020, Defendant denied Plaintiff’s claim.

        26.       Indeed, Defendant has, on a uniform and widescale basis, refused to pay, under its

Business Income and Extra Expense coverages, for losses sustained due to the presence of COVID-

19.

                             V.      CLASS ACTION ALLEGATIONS

        27.       Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3), and

23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all others similarly

situated.

        28.       Plaintiff seeks to represent nationwide classes defined as:

              •   All persons and entities that: (a) had Business Income coverage
                  under a property insurance policy issued by Owners; (b) suffered a
                  suspension of business related to COVID-19, at the premises
                  covered by their Owners property insurance policy; (c) made a claim
                  under their property insurance policy issued by Owners; and (d)
                  were denied Business Income coverage by Owners for the
                  suspension of business resulting from the presence or threat of
                  COVID-19 (the “Business Income Breach Class”).

              •   All persons and entities that: (a) had Extra Expense coverage under
                  a property insurance policy issued by Owners; (b) sought to
                  minimize the suspension of business in connection with COVID-19
                  at the premises covered by their Owners property insurance policy;
                  (c) made a claim under their property insurance policy issued by
                  Owners; and (d) were denied Extra Expense coverage by Owners
                  despite their efforts to minimize the suspension of business caused
                  by COVID-19 (the “Extra Expense Breach Class”).

              • All persons and entities with Business Income coverage under a
                property insurance policy issued by Owners that suffered a
                suspension of business due to COVID-19 at the premises covered
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                 by the Business Income coverage (the “Business Income
                 Declaratory Judgment Class”).

              • All persons and entities with Extra Expense coverage under a
                property insurance policy issued by Owners that sought to minimize
                the suspension of business in connection with COVID-19 at the
                premises covered by their Owners property insurance policy (the
                “Extra Expense Declaratory Judgment Class”).


        29.      Excluded from each defined Class is Defendant and any of its members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; governmental entities;

and the Court staff assigned to this case and their immediate family members. Plaintiff reserves

the right to modify or amend each of the Class definitions, as appropriate, during the course of this

litigation.

        30.      This action has been brought and may properly be maintained on behalf of each

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

        31.      Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of each

defined Class are so numerous that individual joinder of all Class members is impracticable. While

Plaintiff is informed and believes that there are thousands of members of each Class, the precise

number of Class members is unknown to Plaintiff, but may be ascertained from Defendant’s books

and records. Class members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. Mail, electronic mail, internet

postings, and/or published notice.

        32.      Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting individual Class members, including, without limitation:

              a. Defendant issued all-risk policies to the members of the Class in exchange for the

                 payment of premiums by Class members;
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             b. whether the Class suffered a covered loss based on the common policies issued to

                members of the Class;

             c. whether Defendant wrongfully denied all claims based on COVID-19;

             d. whether Defendant’s Business Income coverage applies to a suspension of

                business caused by COVID-19;

             e. whether Defendant’s Extra Expense coverage applies to efforts to minimize a loss

                caused by COVID-19;

             f. whether Defendant has breached its contracts of insurance through a blanket

                denial of all claims based on business interruption, income loss or closures related

                to COVID-19 and the related closures; and

             g. whether Plaintiff and the Class are entitled to an award of reasonable attorney

                fees, interest and costs.

       33.      Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the other Class members’ claims because Plaintiff and the other Class members are all

similarly affected by Defendant’s refusal to pay under its Business Income and Extra Expense

coverages. Plaintiff’s claims are based upon the same legal theories as those of the other Class

members. Plaintiff and the other Class members sustained damages as a direct and proximate

result of the same wrongful practices in which Defendant engaged.

       34.      Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because its interests do not conflict with the interests

of the other Class members who they seek to represent, Plaintiff has retained counsel competent

and experienced in complex class action litigation, including successfully litigating class action

cases similar to this one, where insurers breached contracts with insureds by failing to pay the

amounts owed under their policies, and Plaintiff intends to prosecute this action vigorously. The
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interests of the above-defined Classes will be fairly and adequately protected by Plaintiff and its

counsel.

       35.     Inconsistent or Varying Adjudications and the Risk of Impediments to Other

Class Members’ Interests—Federal Rule of Civil Procedure 23(b)(1). Plaintiff seeks class-

wide adjudication as to the interpretation, and resultant scope, of Defendant’s Business Income

and Extra Expense coverages. The prosecution of separate actions by individual members of the

Classes would create an immediate risk of inconsistent or varying adjudications that would

establish incompatible standards of conduct for the Defendant. Moreover, the adjudications sought

by Plaintiff could, as a practical matter, substantially impair or impede the ability of other Class

members, who are not parties to this action, to protect their interests.

       36.     Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Defendant acted or refused to act on grounds generally applicable to Plaintiff and the other Class

members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class members.

       37.     Superiority—Federal Rule of Civil Procedure 23(b)(3).             A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

Individualized litigation creates a potential for inconsistent or contradictory judgments, and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.




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                                 VI.     CLAIMS FOR RELIEF

                                        COUNT I
              BREACH OF CONTRACT -- BUSINESS INCOME COVERAGE
               (Claim Brought on Behalf of the Business Income Breach Class)

        38.    Plaintiff Bridal Expressions (“Plaintiff” for the purpose of this claim) repeats and

realleges Paragraphs 1-37 as if fully set forth herein.

        39.    Plaintiff brings this Count individually and on behalf of the other members of the

Business Income Breach Class.

        40.    Plaintiff’s Owners policy, as well as those of the other Business Income Breach

Class members, are contracts under which Defendant was paid premiums in exchange for its

promise to pay Plaintiff’s and the other Business Income Breach Class members’ losses for claims

covered by the policy.

        41.    In the Special Property Coverage Form, Defendant agreed to pay for its insureds’

actual loss of Business Income sustained due to the necessary suspension of its operations during

the “period of restoration,” which begins with the date of direct physical loss or damage.

        42.    “Business Income” means net income that would have been earned or incurred, and

continuing normal operating expenses incurred, including payroll.

        43.    COVID-19 caused direct physical loss and damage to Plaintiff’s and the other

Business Income Breach Class members’ Covered Properties, requiring suspension of operations

at the Covered Properties. Losses caused by COVID-19 thus triggered the Business Income

provision of Plaintiff’s and the other Business Income Breach Class members’ Owners insurance

policies.

        44.    Plaintiff and the other Business Income Breach Class members have complied with

all applicable provisions of their policies, those provisions have been waived by Defendant or



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Defendant is estopped from asserting them, and yet Defendant has abrogated its insurance

coverage obligations pursuant to the policies’ clear and unambiguous terms.

       45.     By denying coverage for any Business Income losses incurred by Plaintiff and the

other Business Income Breach Class members in connection with the COVID-19 pandemic,

Defendant has breached its coverage obligations under the Policies.

       46.     As a result of Defendant’s breaches of the policies, Plaintiff and the other Business

Income Breach Class members have sustained substantial damages for which Defendant is liable,

in an amount to be established at trial.

                                       COUNT II
               BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
                (Claim Brought on Behalf of the Extra Expense Breach Class)

       47.     Plaintiff Bridal Expressions (“Plaintiff” for the purpose of this claim) repeats and

realleges Paragraphs 1-37 as if fully set forth herein.

       48.     Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Breach Class.

       49.     Plaintiff’s Owners policy, as well as those of the other Extra Expense Breach Class

members, are contracts under which Defendant was paid premiums in exchange for its promise to

pay Plaintiff’s and the other Extra Expense Breach Class members’ losses for claims covered by

the policy.

       50.     In the Special Property Coverage Form, Defendant agreed to pay necessary Extra

Expense that its insureds incur during the “period of restoration” that the insureds would not have

incurred if there had been no direct physical loss or damage to the Covered Properties.

       51.     “Extra Expense” means expenses to avoid or minimize the suspension of business

and to repair or replace property.



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        52.     Due to the presence of COVID-19, Plaintiff and the other members of the Extra

Expense Breach Class incurred Extra Expense at their Covered Properties.

        53.     Plaintiff and the other members of the Extra Expense Breach Class have complied

with all applicable provisions of the Policies, those provisions have been waived by Defendant, or

Defendant is estopped from asserting them, and yet Defendant has abrogated its insurance

coverage obligations pursuant to the policies’ clear and unambiguous terms.

        54.     By denying coverage for any business losses incurred by Plaintiff and the other

members of the Extra Expense Breach Class in connection with the COVID-19 pandemic,

Defendant has breached its coverage obligations under the Policies.

        55.     As a result of Defendant’s breaches of the policies, Plaintiff and the other members

of the Extra Expense Breach Class have sustained substantial damages for which Defendant is

liable, in an amount to be established at trial.

                                       COUNT III
          DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
      (Claim Brought on Behalf of the Business Income Declaratory Judgment Class)

        56.     Plaintiff Bridal Expressions (“Plaintiff” for the purpose of this claim) repeats and

realleges Paragraphs 1-37 as if fully set forth herein.

        57.     Plaintiff brings this Count individually and on behalf of the other members of the

Business Income Declaratory Judgment Class.

        58.     Plaintiff’s Owners policy, as well as those of the other Business Income Declaratory

Judgment Class members, are contracts under which Defendant was paid premiums in exchange

for its promise to pay Plaintiff’s and the other Business Income Declaratory Judgment Class

members’ losses for claims covered by the policy.

        59.     Plaintiff and the other Business Income Declaratory Judgment Class members have

complied with all applicable provisions of the policies, those provisions have been waived by
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Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and the other Business

Income Declaratory Judgment Class members are entitled.

       60.     Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Business Income Declaratory Judgment Class

have filed a claim.

       61.     An actual case or controversy exists regarding Plaintiff’s and the other Business

Income Declaratory Judgment Class members’ rights and Defendant’s obligations under the

policies to reimburse Plaintiff for the full amount of Business Income losses incurred by Plaintiff

and the other Business Income Declaratory Judgment Class members in connection with the

suspension of their businesses due to the presence of COVID-19.

       62.     Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Business Income Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

          i.   Plaintiff’s and the other Business Income Declaratory Judgment Class members’
               Business Income losses incurred in connection with necessary interruption of their
               businesses due to the presence of COVID-19 are insured losses under their policies;
               and

         ii.   Defendant is obligated to pay Plaintiff and the other Business Income Declaratory
               Judgment Class members for the full amount of the Business Income losses
               incurred and to be incurred in connection with the period of restoration and the
               necessary interruption of their businesses stemming from the presence of COVID-
               19.




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                                        COUNT IV
            DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
        (Claim Brought on Behalf of the Extra Expense Declaratory Judgment Class)

        63.      Plaintiff Bridal Expressions (“Plaintiff” for the purpose of this claim) repeats and

realleges Paragraphs 1-37 as if fully set forth herein.

        64.      Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Declaratory Judgment Class.

        65.      Plaintiff’s Owners insurance policy, as well as those of the other Extra Expense

Declaratory Judgment Class members, are contracts under which Defendant was paid premiums

in exchange for its promise to pay Plaintiff’s and the other Extra Expense Declaratory Judgment

Class members’ losses for claims covered by the policy.

        66.      Plaintiff and the other Extra Expense Declaratory Judgment Class members have

complied with all applicable provisions of the policies, those provisions have been waived by

Defendant, or Defendant is estopped from asserting them, and yet Defendant has abrogated its

insurance coverage obligations pursuant to the policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and the other Extra Expense

Declaratory Judgment Class are entitled.

        67.      Defendant has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Extra Expense Declaratory Judgment Class have

filed a claim.

        68.      An actual case or controversy exists regarding Plaintiff’s and the other Extra

Expense Declaratory Judgment Class members’ rights and Defendant’s obligations under the

policies to reimburse Plaintiff and the other Extra Expense Declaratory Judgment Class members



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for the full amount of Extra Expense losses incurred by Plaintiff and the other Extra Expense

Declaratory Judgment Class members due to the presence of COVID-19.

       69.         Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Extra Expense Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

            i.     Plaintiff’s and the other Extra Expense Declaratory Judgment Class members’
                   Extra Expense losses incurred in connection with the necessary interruption of their
                   businesses due to the presence of COVID-19 are insured losses under their policies;
                   and

         ii.       Defendant is obligated to pay Plaintiff and the other Extra Expense Declaratory
                   Judgment Class members for the full amount of the Extra Expense losses incurred
                   and to be incurred in connection with the covered losses related to the necessary
                   interruption of their businesses due to the presence of COVID-19.

                                   VII.    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other Class members,

respectfully requests that the Court enter judgment in their favor and against Defendant as follows:

       a.          Entering an order certifying the proposed nationwide Classes, as requested herein,

designating Plaintiff as Class representative, and appointing Plaintiff’s undersigned attorneys as

Counsel for the Classes;

       b.          Entering judgment on Counts I and II in favor of Plaintiff and the members of the

Business Income Breach Class and the Extra Expense Breach Class; and awarding damages for

breach of contract in an amount to be determined at trial;

       c.          Entering declaratory judgments on Counts III and IV in favor of Plaintiff and the

members of the Business Income Declaratory Judgment Class and the Extra Expense Declaratory

Judgment Class as follows:

                 i.   Business Income and Extra Expense losses incurred in connection with the
                      necessary interruption of businesses due to the presence of COVID-19 are
                      insured losses under their Policies; and



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            ii.   Defendant is obligated to pay for the full amount of the Business Income and
                  Extra Expense losses incurred and to be incurred in connection with the
                  necessary interruption of businesses due to the presence of COVID-19;

      d.      Ordering Defendant to pay both pre- and post-judgment interest on any amounts

awarded;

      e.      Ordering Defendant to pay attorneys’ fees and costs of suit; and

      f.      Ordering such other and further relief as may be just and proper.

                                     VIII. JURY DEMAND

      Plaintiff hereby demands a trial by jury on all claims so triable.

Dated: April 17, 2020                                Respectfully submitted,

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                                                    Counsel for Plaintiff
                                                    and the Proposed Classes

* Applications for admission pro hac vice to be filed




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